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UNITED STATES OF AMERICA                                         )
                                                                 )                                             All' -- I 2017
vs.                                                              )                               ASEN< .:3:16-CR-288-M (04J

KAMRETH JAMISON REAVES,
                                                                )
                                                                 )
                                                                                                     c;:RK, U.S;f:~CT COURT
          Defendant.                                            )                                                  Deputy

                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

         KAMRETH JAMISON REAVES, by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5 1h
Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 1 ofthe
Indictment, and after cautioning and examining KAMRETH JAMISON REAVES under oath concerning each of
the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the
offense(s) charged is supported by an independent basis in fact containing each of the essential elements of such
offense. I therefore recommend that the plea of guilty be accepted, and that KAMRETH JAMISON REAVES be
adjudged guilty of Count 1 of the Indictment, charging a violation of 18 U.S.C. § 1349, that is, Conspiracy to
Commit Bank and Mail Fraud, and have sentence imposed accordingly. After being found guilty of the offense by
the district judge,

181     The defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the community if released.

        D        The Government does not oppose release.
        D        The defendant has been compliant with the current conditions of release.
        D        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other person
                 or the community if released and should therefore be released under§ 3142(b) or (c).

        D        The Government opposes release.
        D        The defendant has not been compliant with the conditions of release.
        D        If the Court accepts this recommendation, this matter should be set for hearing upon motion of the Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) th       ent has recommended that
        no sentence of imprisonment be imposed, or (c) exceptional circumstanc -afttclearly shown u er § 3145(c) why the
        defendant should not be detained, and (2) the Court finds by clear and        vincing evidence t     defe       [Wt likely
        to flee or pose a danger to any other person or the community if re ased.

        Date:    August 1, 2017.
                                                                               PAUL D. STICKNEY
                                                                          UNITED STATES MAGISTRATE JUDGE

                                                         NOTICE
          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(l)(B).
